                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                  :      CHAPTER 13        Hearing Date: 10/31/23
                                        :                        Time: 10:30 a.m.
                                        :                        Place: Courtroom #2
RUFINO R. WATSON, JR.                   :                        U.S. Bankruptcy Ct.
                                        :                        900 Market Street
          DEBTOR                        :      NO. 22-11266 (MDC) Phila., PA 19107


               MOTION FOR REINSTATEMENT OF THE AUTOMATIC STAY
                   PURSUANT TO §362 OF THE BANKRUPTCY CODE

          To the Honorable Magdeline D. Coleman, Chief United States Bankruptcy Judge:

          Debtor, by and through his attorney, respectfully requests that this Honorable Court

reinstate the automatic stay with respect to his residential property located at 6801 Lynford

Street, Philadelphia, PA 19149, which is property of the estate, and in support thereof avers as

follows:

          1.     On May 17, 2022, Debtor filed a chapter 13 bankruptcy petition.

          2.     On August 4, 2022, AmeriHome Mortgage Company (“AmeriHome”) filed a

Motion for Relief from Automatic Stay Under Section 362 (“Motion”).

          3.     On September 30, 2022, a Stipulation resolving the Motion was filed with the

Court..

          4.     On October 5, 2022 an Order was entered approving the Stipulation.

          5.     On November 17, 2022, Debtor’s first amended chapter 13 plan was confirmed by

this Honorable Court.

          6.     On August 28, 2023 Amerihome filed a transfer of claim to M & T Bank,

pursuant to an Assignment of Claim between the two parties.

          7.     On August 30, 2023, counsel for M & T Bank served Debtor and counsel with a

notice of default under the Stipulation.

          8.     On September 21, 2023, M & T Bank filed a Certificate of Default under the

Stipulation.
       9.      On September 23, 2023, debtor sent a payment in the amount of $3,800.00 to M

& T Bank, which was delivered on September 25, 2023. Debtor acknowledges that the payment

was late and was not for the full amount to cure the post-petition arrears.

       10.     On September 29, 2023, this Court entered an Order granting the Motion for

Relief from Stay.

       11.     Debtor advises that he fell into arrears with M & T Bank due to an employment

suspension from May through September 2023.

       12.     Debtor has since gone back to work with the same employer on a full-time basis

and is in the process of accumulating additional funds. He asserts that on or before the hearing on

this Motion, he will be in possession of the funds necessary to cure his post-petition arrears with

M & T Bank. In addition, Debtor is current with the trustee payments.

       13.     Debtor believes that there is an equity cushion in his home.

       14.     Debtor’s home is fully insured.

       15.     Debtor believes that M & T Bank’s interest in Debtor’s estate is adequately

protected.

       16.     Debtor believes it is in the best interest of the estate to reinstate the stay against M

& T Bank.

       WHEREFORE, Debtor respectfully prays that this Honorable Court reinstate the

automatic stay applicable to M & T Bank.

Dated: October 5, 2023                         Respectfully submitted,


                                               /s/ David B. Spitofsky
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